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Attorneys for Defendants
EHAB 8S. YACOUB; LORINE A. MIKHAEIL

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

JAMES SHAYLER, Case Number: 2:20-cv-01882-RAO
Plaintiff, DEFENDANTS’ OPPOSITION TO
PLAINTIFF’S MOTION FOR
vs. ATTORNEY FEES
EHAB S. YACOUB; LORINE A. (ROA 85)
MIKHAEIL
Deendans | Plc Gaga 20m
Courtroom 590

 

 

 

 

TO ALL INTERESTED PARTIES AND THEIR ATTORNEYS OF

RECORD, IF ANY:

PLEASE TAKE NOTE that on October 13, 2021 at 10:00 a.m., or as soon
thereafter as the matter may be heard in Courtroom 590 of the United States District
Court, located at 255 E. Temple Street, Los Angeles, California 90012, defendants
EHAB S. YACOUB and LORINE A. MIKHAEIL will appear and oppose Plaintiff's
motion for an award of attorney fees.

Said opposition shall be base upon this notice of opposition and opposition;
upon the memorandum of points and authorities that have been filed and served
concurrently herewith; upon the complete files and records of this Court as they

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OPPOSITION TO MOTION FOR ATTORNEY FEES

 
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relate to the above entitled matter and; upon such further and additional evidence
and oral argument as may be permitted by this Court at the time of the hearing.
Defendants reserve the right to amend or supplement this opposition as there is

currently a motion to vacate judgment submitted to the Court and said motion is

pending to be heard and decided on.

DATED: September 30, 2021 KMB LAW GROUP
/s/ Kevin M. Badkoubehi

 

Kevin M. Badkoubehi, Esq.

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OPPOSITION TO MOTION FOR ATTORNEY FEES

 
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PROCEDURAL HISTORY

Plaintiff filed his complaint for violations of the Americans with Disability
Act and violations of the California Unruh Act on February 26, 2020. On March 17,
2021, Plaintiff filed its first motion for summary judgment which was denied by this
Court on April 30, 2021. Plaintiff filed a renewed motion for summary judgment on
March 26, 2021, which was opposed by defendants. On August 31, 2021, this Court
granted Plaintiff's motion.

On September 9, 2021, defendants filed a Motion to Vacate based upon
evidence that was discovered following the hearing on Plaintiff's second motion for
summary judgment. No hearing date on Defendant’s motion to vacate has been set.

On September 14, 2021, Plaintiff filed the instant motion seeking an award of
attorney fees. Defendants contend that much of the work performed by plaintiff's
attorney was both repetitive and duplicative of other such cases to the point where
the declarations and complaints are nearly identical of previous work which has been
performed. The alteration of an existing complaint to reflect the new address, dates
and defendants does not require the efforts of a senior attorney billing at $495.00
hour but could instead be handled by a paralegal at a much lessor rate.

This Court has also agreed to examine the allegations of Defendants
concerning new evidence that was discovered following the hearing on Plaintiff's
motion for summary judgment. (ROA 93) In the event this Court agrees with
Defendants and grants the motion, an award of attorney fees would be premature.

I
SUMMARY OF ARGUMENT

Plaintiff seeks an award of attorney fees based upon the lodestar method of
applying the hourly rate of the attorney and multiplying that rate times the number of
hours expended in prosecuting the matter. In the case at bar, the loadstar fee being
sought is excessive and unreasonable given the relief granted by this Court.

The hourly work claimed by plaintiffs attorney is duplicative, not only in the

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MEMORANDUM OF POINTS AND AUTHORITIES

 

 

 

 
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case at bar, but of former cases from which the vast majority of the pleadings are
drawn. For example, given the fact that Plaintiff has filed over 130 nearly identical
claims, with nearly identical pleadings and declarations, using the same investigator,
spending time with the Plaintiff to discuss the facts of this particular matter is
nothing less than a travesty, as would be any discussion with the investigator.
Il
THE NUMBER OF HOURS SOUGHT FOR COMPENSATION
IS UNREASONABLE

Recognizing that plaintiffs may obtain some relief when judgment is entered,
the lodestar fee they seek ($42,874.00) is excessive and unreasonable. To begin
with, in submitting a fee application, a prevailing party is required to exercise
“billing judgment” by making a good faith effort to exclude from the request hours
that are excessive, redundant, or otherwise unnecessary. Hensley v. Eckerhart, 461
U.S. 424, 434, 1983. at 434. “Hours that are not properly billed to one’s client also
are not properly billed to one’s adversary ....” Id. Plaintiff's counsel has not
attempted to exercise such judgment. Instead, it appears they simply summarized all
of the hours and activities they undertook since February 2020 and left it for the
Defendants and Court to sort out. That is not the proper approach to submitting a fee
application. The initial considerations in reducing a fee award are whether the hours
requested have been adequately documented; whether the request reflects
overstaffing and duplication of effort by counsel; and whether hours have been
expended on activities that were unproductive, unnecessary, or otherwise
unreasonable. See Hensley, 461 U.S. at 433-34; Sorenson v. Mink, 239 F.3d 1140,
1146-47 (9th Cir. 2001). Plaintiffs’ fee request should be reduced for all of these
reasons.

As an example, on January 31, 2020, Plaintiff expended .5 hours in
researching the ownership of the business and property owner. On February 21,

2020, Plaintiff against spent an additional 1.1 hours reviewing the ownership of the

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property . Plaintiff claims to have incurred over 8 hours of work in preparing the
complaint, which is nearly identical to previous complaints which Plaintiff has filed,
the only differences being the date and location of the various violations.

Another such example is found concerning this Court’s minute order of
September 17, 2020, concerning a discovery dispute. Plaintiffs counsel spent nearly
15 minutes reading a one paragraph statement from the Court and another 12 minutes
drafting an email concerning the Court’s order. The settlement conference required
nearly 3 hours of effort on the part of Plaintiff's attorney wherein he spent 1.5 hours
preparing a settlement conference memorandum on July 10, 2020, and then billed an
additional .4 hours on July 14, 2020, to review the memorandum he prepared 4 days
earlier.

In making this determination, “[t]he district court . .. should exclude from this
initial fee calculation hours that were not ‘reasonably expended.” Hensley, 461 U.S.
at 434. The assessment of reasonableness is made by reference to standards
established in dealings between paying clients and the private bar, id. at 434, and the
burden is on the party seeking fees to demonstrate, with sufficient evidence, that the
hours worked, and rates claimed are reasonable, id. at 433-34; accord Schwarz, 73
F.3d at 906 (burden of showing that hours and fees are reasonable falls squarely
upon the plaintiffs).

Cases may be overstaffed, and the skill and experience of lawyers va

widely. Counsel for the prevailing party should make a good fait

effort to exclude from a fee request Fours that are excessive, redundant,

or otherwise unnecessary, just as a lawyer in private practice ethically
is obligated to exclude such hours from his fee submission.

Hensley at 434; accord Van Gerwen v. Guarantee Mut. Life Co., 214 F.3d 1041,
1045 (9th Cir.2000) (citation omitted).

Accordingly, in setting a “reasonable” fee, the district court must “consider
the relationship between the amount of the fee awarded and the results obtained.”

Hensley, 461 U.S.at 437. Even a finding that plaintiff has obtained “significant”

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relief “does not answer the question of what is ‘reasonable’ in light of that level of
success.” Hensely at 439. “A reduced fee award is appropriate if the relief, however
significant, is limited in comparison to the scope of the litigation as a whole.”
Hensley at 439-40; accord Schwarz, 73 F.3d at 901.
IV
PLAINTIFF’S FEE APPLICATION IF PREMATURE

Defendants filed a motion to vacate judgment on September 9, 2021 (ROA 83)
This court’s minute order of September 13, 2021 (ROA 84) set a briefing schedule
and provided a commitment by this court to hold a hearing on defendants’ motion.
No hearing date for the motion is currently set. Before an award of attorney fees can
be made, there must be a prevailing party. Rule 54(d)(2)(B)(ii) of the Federal Rules
of Civil Procedure requires that a motion for attorney fees and expenses “must
specify the judgment” entitling the movant to the award. If defendants’ motion is
granted and this case restored to the civil calendar, there will be no judgment and
thus no prevailing part at that time.

V
CONCLUSION

For each the foregoing reasons, plaintiffs’ motion for attorney fees should be
denied, or in the alternative, severely reduced. The Court should defer an award of
fees and exchange of opposition to said motion and anticipated reply until after the
awaited decision of this Court as to whether defendants’ motion to vacate the
summary judgment should be granted.

DATED: September 30, 2021 KMB LAW GROUP

By: /s/ Kevin M. Badkoubehi

 

‘Kevin M. Badkoubehi, Esq.

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PROOF OF SERVICE
I, Kevin M. Badkoubehi:
I am a citizen of the United States and employed in Los Angeles County, California. | am
over the age of eighteen years and not a party to the within entitled action. My business address is
5850 Canoga Avenue, Suite 301 Woodland Hills, CA 91367

On September 30, 2021, I served a copy of the within document(s):

DEFENDANTS OPPOSTIN TO PLAINTIFFS MOTION FOR ATTORNEYS FEES

 

BY MAIL: by placing the document(s) listed above in a sealed envelope with
postage thereon fully prepaid, the United States mail at Los Angeles, California
addressed as set forth below.

 

BY E-SERVICE: by transmitting via E-Filed by One Legal the document(s)
listed above to the following person(s) as designated on the Transaction Receipt
located on the One Legal website.

BY ELECTRONIC SERVICE: by transmitting via e-mail or electronic
transmission the document(s) listed above to the person(s) at the e-mail address(es)
set forth below.

 

 

 

 

 

 

Attorneys for Plaintiff
Anoosh Hakimi

Peter Shahryar

H&S Law Group, PLC
1800 Vine Street, Suite 804
Los Angeles, CA 90028

 

 

 

 

I am readily familiar with the firm's practice of collection and processing correspondence for
mailing. Under that practice it would be deposited with the U.S. Postal Service on that same day with
postage thereon fully prepaid in the ordinary course of business. I am aware that on motion of the
party served, service is presumed invalid if postal cancellation date or postage meter date is more than
one day after date of deposit for mailing in affidavit.

Executed on September 30, 2021, at Woodland Hills, California.

I declare under penalty of perjury under the laws of the State of California that the above is
true and correct.

/s/ Kevin M. Badkoubehi
Kevin M. Badkoubehi

 

PROOF OF SERVICE _

 

 
